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                                                                                     2020 Jun-12 PM 04:02
                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       NORTHERN DIVISION


UNITED STATES OF AMERICA,
                                        CASE NO. 2:17-cr-00539-RDP-SGC
v.


CHARLES WALKER.


          MOTION REQUESTING COMPASSIONATE RELEASE

      Comes now, Susan G. James, Attorney, for the above referenced defendant,

and files this motion for release and in support thereof states the following:

      1. Walker was taken into custody a few days after his sentencing.

      2. The Coronavirus has become more deadly and rampantly taking the lives

of citizens of this State and this Country, some of which are incarcerated.

      3. The undersigned understands that many non-violent inmates have been

released across the country. Walker is a non-violent offender.

      4. The undersigned has been advised that one of her clients, Charles Walker

in a Federal prison in Arkansas has contracted the Coronavirus.

      5. These type situations will only become worse as prisons and jails house a

transient population, particularly the Federal prisoners moving from jail to jail,

prison to prison.
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      6. Inmates are sent to jail “as punishment not for punishment” in an

environment where they can not self-isolate under these difficult and dangerous

times. This fact alone creates an Eighth Amendment issue.

      7. Walker is a non-violent offender. He was successful on his bond after

arrest until incarceration. There is no reason to believe he would violate any

conditions if released.

      8. As the uncertainty of this virus spreads, those who can not self-isolate

and social distance are vulnerable to the disease. Walker already had medical

issues and a compromised immune system before incarceration as this Court

knows.

      9. It is unknown as to whether AUSA Brad Felton opposes this request.

      10. Wherefore, it is respectfully requested this Court grant the relief

requested herein.

      Respectfully submitted,

                                       s/Susan G. James
                                       SUSAN G. JAMES
                                       Attorney at Law
                                       600 South McDonough Street
                                       Montgomery, Alabama 36104
                                       Phone: (334) 269-3330
                                       E-mail: thejamesfirm@aol.com
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                         CERTIFICATE OF SERVICE


       I hereby certify that on June 12, 2020 electronically filed the foregoing with
the Clerk of Court using the CM/ECF system which will send notification of such
filing to the following: AUSA Brad Felton, Northern District of Alabama.


      Respectfully submitted,

                   /s/SUSAN G. JAMES
                   Susan G. James
                   Attorney at Law
                   600 South McDonough Street
                   Montgomery, Alabama 36104
                   Phone: (334) 269-3330
                   E-mail: thejamesfirm@aol.com
                   Bar No: JAM012
